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       1                       UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
       2                              MIAMI DIVISION
       3                      CASE NUMBER 16-20893-CR-MORENO
       4
           UNITED STATES OF AMERICA,
       5
                          Plaintiff,                         Courtroom 13-3
       6
              vs.                                            Miami, Florida
       7
           MONTY RAY GROW,                                   January 31, 2018
       8
                        Defendant.
       9   __________________________________________________________________
      10                        JURY TRIAL PROCEEDINGS
                       BEFORE THE HONORABLE FEDERICO A. MORENO
      11                     UNITED STATES DISTRICT JUDGE
           _______________________________________________ ___________________
      12
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      13
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      10   Exhibits                            Marked for             Received
                                             Identification         in Evidence
      11
           Description                        Page        Line       Page    Line
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       1         (The following proceedings were held at 9:25 a.m. outside

       2   the presence of the jury:)

       3              THE COURT:    Defendant is present, defense counsel,

       4   Government counsel.

       5              It's 9:25.    There were four jurors missing around 9:00,

       6   right, Shirley?

       7              THE COURTROOM DEPUTY:      Yes.

       8              THE COURT:    It's now 9:25 and there's one juror

       9   missing.   We can guess who it is.        He's been late as much as an

      10   hour every day except yesterday.        Yesterday he was on time,

      11   Mr. Jean, and it's now 9:25.

      12              What say the defense?

      13              MR. RASHBAUM:    We're okay replacing him, Your Honor.

      14              THE COURT:    What say the Government?

      15              MR. LARSEN:    We can replace him, Your Honor.

      16              THE COURT:    All right.   So bring them in, and when

      17   Mr. Jean gets here, say, thank you very much.

      18              THE COURT SECURITY OFFICER:        All rise for the jury.

      19              THE COURT:    I mean, it's every day.      Well, maybe he

      20   just got there.    I don't know.

      21         (The jury entered the courtroom at 9:29 a.m.)

      22              THE COURT:    Good morning, everybody.      How are you all

      23   doing?

      24              Refreshing cool weather, huh?       It's kind of nice, isn't

      25   it?   It's a little change.
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       1              THE COURT SECURITY OFFICER:        Do you want me to wait for

       2   him outside?

       3              THE COURT:   Yeah, and when he comes in, say, thank you.

       4       (There was a brief discussion off the record.)

       5              THE COURT:   Okay.   Mr. Jean is late again, so we're

       6   going to send him home.     Okay?

       7              The record will reflect all the jurors are smiling

       8   because they recognize he's been late every day but yesterday I

       9   think.

      10              Okay.   Good morning, everybody.

      11              The defendant is present, defense counsel, Government

      12   counsel.

      13              Yesterday, as I was giving you the instructions, I was

      14   on Page 26, Jury Instruction Number 20 when I told you that the

      15   Indictment charges a separate crime in each count and you must

      16   consider each crime separately.       If you find the defendant

      17   guilty or not guilty of one crime, that must not affect the

      18   other crime and he's only on trial for what he's charged with,

      19   not for anything else and not to consider punishment because

      20   that's for me to determine if you find that the Government has

      21   proven guilt beyond a reasonable doubt.

      22              That's where we left off, and now the last two

      23   instructions that I have for you is the duty to deliberate.

      24              Your verdict, whether guilty or not guilty, must be

      25   unanimous.     In other words, you must all agree.       Your
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       1   deliberations are secret.     You will never have to explain your

       2   verdict to anyone.

       3             Each of you must decide the case for yourself but only

       4   after fully considering the evidence with the other jurors.          So

       5   you must discuss the case with one another and try to reach an

       6   agreement.   While you are discussing the case, do not hesitate

       7   to reexamine your own opinion and change your mind if you become

       8   convinced that you were wrong, but do not give up your honest

       9   beliefs just because others think differently or because you

      10   simply want to finish the case.

      11             Remember, that in a very real way, you are judges,

      12   judges of the facts.

      13       (Juror Jefnie Jean entered the courtroom.)

      14             THE COURT:   No, sir.     Thank you.

      15             Where is the court security officer?

      16       (Juror Jefnie Jean retired from the courtroom.)

      17             THE COURT:   Remember, that in a very real way, you are

      18   judges, judges of the fact.       Your only interest is to seek the

      19   truth from the evidence in the case.

      20             When you go to the jury room, the first thing you

      21   should do is to select one of you to be foreperson, foreman,

      22   forelady, whichever word you're comfortable with.

      23             Now, the instructions, the standard instructions say

      24   that person directs or presides over your deliberations.         I

      25   don't really like that.     You do it however you want, but only
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       1   one person signs the Verdict Form and speaks for you.

       2             One time I used the word "foreperson" and four persons

       3   signed it, so I want to make sure.            That's why I say foreman and

       4   forelady.   Obviously, a man or a woman can be a foreperson of

       5   the jury.

       6             We've prepared the Verdict Form, all of us together

       7   here in this case and I read it to you.            It's been prepared.

       8   Now you have to fill it out.     You remember it has each count.             I

       9   don't want to go through it each time, but remember, it has

      10   different categories with the little line as an explanation, a

      11   short version of what the charge is.

      12             The Indictment is going to go back with you as always.

      13   Obviously, the Indictment is not proof of guilt or any evidence

      14   at all, but you can compare it with the Verdict Form.

      15             All the exhibits, the lawyers were kind enough on both

      16   sides to organize everything in those boxes in order, and we're

      17   going to give you a list of witnesses, both Government and

      18   defense, and the list of exhibits, both Government and defense,

      19   eliminating any exhibit I have not admitted or was not

      20   introduced and thus it should be easy.

      21             There's no minimum time, no maximum time.            Now you are

      22   in control of how long you work.

      23             Two things though:    We're going to take away your

      24   phones.   We're going to give them back to you.          No one is going

      25   to call Beijing or anything like that.            All right?
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       1             And do we have any smokers?          We don't have any smokers,

       2   so nobody needs a smoking break.

       3             So that means, you cannot go out into the hallway

       4   anymore, let alone outside to the cafeteria or anything like

       5   that.    You've got to stay in that room.         We're going to send

       6   everything little by little; these instructions, the Verdict

       7   Form that I read for you yesterday, all the exhibits, the

       8   Indictment, and then I have something else for you.

       9             You may have questions of each other.            I'm just a judge

      10   of the law.   You are the judges of the facts.             If for some

      11   reason you have a question of me, you can do that, and we have

      12   notes and they start off with the case number, Question/Note

      13   From Deliberating Jury to the Court.            It says, do not destroy,

      14   so that it doesn't get thrown out.

      15              United States of America versus Monty Ray Grow, with

      16   date, foreperson signature and name, and then you ask whatever

      17   question.

      18              However, don't ever tell me in case you have a

      19   numerical division what it is.       What are you talking about,

      20   Judge?    In other words, don't tell me, you know, we're 11 to 1

      21   on this count going this way, we're 10 to 2 or we're 6 to 6.

      22   What you do in there is your own business as long as you follow

      23   the law and consider the evidence.            All right?    And you never

      24   have to explain it to anyone.

      25             So these blank notes will be sent back to you.             So
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       1   don't write it on another piece of paper.        Your notebooks will

       2   be there, if they're not there already, to use for your personal

       3   memory aid and that's it.     All right.

       4             So are there any objections, corrections, deletions,

       5   additions, omissions to the jury instructions as they were

       6   prepared or read and discussed the last few days, and read

       7   yesterday and today.      From the Government?

       8             MR. LARSEN:    None, Your Honor.

       9             THE COURT:    From the defense?

      10             MR. RASHBAUM:    No, Your Honor.

      11             THE COURT:    All right.    By law in criminal cases, we

      12   only have 12 jurors and you realized that what we did in this

      13   case is we chose more than 12 persons, and you see by the empty

      14   chairs that it was not a bad idea to do that.

      15             So Ms. Laura Oropesa, I'm going to excuse you, but I'm

      16   going ask you a couple of things when I excuse you, because this

      17   has been a case with a lot of information and there may be some

      18   media publicity.    I'm going to ask you just in case something

      19   happens that for a couple of days, today and tomorrow, you not

      20   talk about the case, you not read anything about the case.

      21   Today is Wednesday.     By Thursday, I'm just picking an arbitrary

      22   date, and then if you don't hear from us by tomorrow, then

      23   that's fine.   Okay?    The reason is in case something happens.

      24   It looks like everybody is healthy and ready to work and I'm not

      25   suggesting something should happen or not happen by Thursday,
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        1   but that's what I'm going to do.            But if you don't hear from us

        2   by Thursday and what we'll do -- if you hear from us before,

        3   we'll call you.       All right?    But don't read anything.       Can you

        4   do that?

        5              MS. OROPESA:    Yes.

        6               THE COURT:    Can you?     Is that a yes?

        7              MS. OROPESA:    Yes.

        8              THE COURT:    Okay.     Thank you.

        9              And then I'm going to give you as a token of my

       10   appreciation, a certificate with today's date.             You can do with

       11   it whatever you want.      We give it to you in exchange for your

       12   badge.    You give us your badge, your juror badge, we give you

       13   the certificate.      All right?     Take your belongings with you.

       14   You cannot deliberate with them unless we bring you back with

       15   more instructions.       All right?

       16              MS. OROPESA:     Do I go now?

       17              THE COURT:     Yeah.    You're welcome to sit in the

       18   courtroom, but I've never seen jurors do that.              They usually

       19   want to go, but let me give you the certificate.

       20              You can go through the jury room.            It's the easiest

       21   way.     Thank you.

       22               All right.    As soon as she leaves -- we've got 3, 6,

       23   12.    Now it's up to you.        Thank you.

       24              We'll see you whenever you want to be seen.

       25              THE COURT SECURITY OFFICER:            All rise for the jury.
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        1      (The jury retired to consider their verdict at 9:38 a.m.)

        2              THE COURT:     Okay.   Have a seat for a few minutes.

        3              Mr. Grow, I usually ask this question when a defendant

        4   elects not to testify to see if they're satisfied with their

        5   lawyers.    I don't usually do it when a defendant testifies,

        6   because I assume they are, but I thought your lawyers as well as

        7   the prosecutors did a very good job.

        8              Are you satisfied with your lawyers?

        9              THE DEFENDANT:     Yes, Your Honor.

       10              THE COURT:     Okay.   And I certainly agree with you.

       11   They did a fine job and there were very good closing arguments

       12   on both sides in what I perceive to be a difficult case, I

       13   really do, obviously.

       14              So we've got these exhibits.            How about this?   Why

       15   doesn't he help you with the boxes?               Why don't you guys go in

       16   this way?     No, take some of these boxes, but through here.              We

       17   won't talk.    That way you don't have to walk so far and then

       18   we'll have one on the outside and one on the inside.

       19              You can sit down.      Okay.

       20       (There was a brief discussion off the record.)

       21               MR. LARSEN:    Your Honor --

       22               THE COURT:    Hold on.

       23              Verdict Form and you'll give me a copy, too, for me.

       24              THE COURTROOM DEPUTY:         You don't want a copy?

       25              THE COURT:     Probably.      The Indictment.     Okay.
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        1              Okay.    Do we have a list of exhibits?      Let me see them?

        2   And how about the Witness List?

        3              MR. LARSEN:    I have both, Your Honor.

        4              THE COURT:    I was looking for it and I didn't have it.

        5   Okay.     Let's see.

        6              We have the final Witness List and Exhibit List and

        7   Defendant's Witness List and Defendant's Exhibit List.          Okay?

        8               I think this is very helpful to the jurors, and later

        9   on, you will file these.

       10              Okay.     Anything else?

       11              MR. MARCUS:    Just on the Indictment, Your Honor, did

       12   you redact out the dismissed counts?

       13              THE COURT:    Of course.

       14              MR. MARCUS:    Okay.

       15              THE COURT:    They're at the end, so it's easy.      Of

       16   course.

       17              MR. MARCUS:    All right.

       18              THE COURT:    I also redacted out the forfeiture.         If

       19   they find the defendant guilty, we're going right through.                So

       20   if anybody is going to make an opening statement or a closing

       21   argument combined, that's when you're going to do it, because

       22   both sides said you had no evidence.           So whatever you're going

       23   to say, you combine it in both and then I'll give them the

       24   instruction.       I'm not suggesting they'll find him guilty.        I'm

       25   just preparing.
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        1              So whoever is going to do it, it's whoever is in the

        2   seat of the United States and whoever is in the seat of the

        3   defense.    Then you'll proceed.

        4              All right.    Be back here at 12:00 since we started a

        5   little late, couple of minutes before 12 and see if we have a

        6   question.    All right?

        7              Thank you.

        8              MR. LARSEN:    Your Honor, do you want any phone numbers

        9   from us?

       10              THE COURT:    Oh, yeah.    Here.    Is that little page

       11   enough?    We've got five lawyers.

       12              Okay.   Leave your phone numbers in case there's a

       13   problem.

       14              MR. MARCUS:    Do you want us to come back at noon?

       15              THE COURT:    Yeah.

       16              MR. MARCUS:    Okay.   Thank you.

       17      (A recess was taken at 9:46 a.m. and the following

       18   proceedings were held at 11:03 a.m. outside the presence of the

       19   jury:)

       20              THE COURT:    Defendant is present, defense counsel,

       21   Government counsel.      Please be seated.

       22              We have a couple of notes from the jurors.        One we've

       23   taken care of.     We would like 11 more copies made of the

       24   Indictment, so each member has a copy and we have done that as

       25   well as the jury instructions.        I almost was going to do it
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        1   ahead of time, but being kind of a recycler, I didn't want to do

        2   it but this is the type of case.

        3            Then the next note is of no surprise.

        4            It says:     "We like to listen to the recordings in DX191

        5       and DX192 but have no mechanism to play from a USB flash

        6       drive."

        7             We kind of expected that, didn't we?      And we probably

        8   should have given it to them.     So we'll give it.    Do you have it

        9   clean?

       10            All right.     So we'll file these things.

       11            Give it to the courtroom deputy.

       12             Is there any unusual instructions on that?      You don't

       13   need any password?

       14            MR. LARSEN:    The password is right on top.

       15            THE COURT:    Okay.   The password is right on top.

       16             That's what I have for my password violating all the

       17   rules.   I know.    Don't tell my fellow members on the Executive

       18   Committee, they'll get mad at me.

       19            All right.     So I don't know if it's worth it for you

       20   all to come back at 12, because I think it's probably going to

       21   be too soon, but was it really inconvenient just to get a call

       22   or how far away are you?

       23             You're not in Broward, are you?     You go to Fort

       24   Lauderdale now, Mr. Rashbaum?

       25            MR. RASHBAUM:     No, no.   We're right downtown.
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        1              THE COURT:   You're downtown.

        2              How is your son, by the way?

        3              MR. RASHBAUM:   He's doing great.    Thank you, Your

        4   Honor.

        5              THE COURT:   Oh, you live in Broward but you work

        6   downtown.

        7              MR. RASHBAUM:   The office is in Downtown Miami.     We can

        8   be here in five, ten minutes.

        9              THE COURT:   Okay.   Well, then let's pick a time.     This

       10   is what I'll do.     If they haven't reached a verdict, which I

       11   don't think they will, we'll send menus there and we'll feed

       12   them.    So might as well send the menus, so we'll feed them,

       13   which means, once you send menus and you tell them you're going

       14   to feed them -- they're not going to have a verdict in any

       15   event, but they definitely won't have verdict until they are

       16   fed.     I mean, that's human nature.

       17              So come back at 2:00 if you don't hear from us in case

       18   there's another question that may be more substantive than the

       19   expected ones.

       20              Okay?   All right.   See you then.   Have a good lunch.

       21              Okay.   We're in recess.

       22      (A recess was taken at 11:06 a.m. and the following

       23   proceedings were held at 2:25 p.m. outside the presence of the

       24   jury:)

       25              THE COURT:   Okay.   Let me call the other case while
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        1   you're waiting.    I told you to come back the 2:00 just out of

        2   the blue in United States of America versus Monty Ray Grow,

        3   16-20893-Criminal.

        4            Government is present, defense is present.           Defendant

        5   is present, lawyers for both sides.

        6            We don't have anything.         We don't have a note.      We

        7   don't have a question.    We don't have anything and they're very

        8   quiet, and you know, I feel bad just making you come back at a

        9   particular time, but I just think it's easier to do that.                We

       10   generally have questions.       It's obvious that they're going, as

       11   they should, count by count being very thorough.

       12            There was one thing though.           They didn't send a note,

       13   but they couldn't get the computer on.          So I did take the

       14   liberty of calling -- instead of bringing you in for that.                We

       15   brought in our I.T. technology people, who went in there and I

       16   don't even know but apparently he knew more than the jurors, and

       17   apparently, it works.    If not, I'm sure I would have gotten

       18   another note.     So I want to let you know that, but rather than

       19   bringing you in and then sending you back and bringing you in

       20   again, I took the liberty of doing that.

       21            I assume there's no objection, obviously, right,

       22   Government?

       23            MR. LARSEN:    No.

       24            THE COURT:     Right, defense?

       25            MR. RASHBAUM:    No.
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        1            THE COURT:    I don't know what the problem was, but

        2   there was a solution to it.

        3            So it's 2:30.    This jury has been going home around

        4   6:30, but do you want to pick the tradition 5:00 just in case?

        5   Now they're the masters of their time as opposed to the judge

        6   doing that.

        7            If you could come back at 5:00, and we have your phones

        8   if we need you before that.

        9            The I.T. fellow came in and everything worked out?

       10            THE COURTROOM DEPUTY:      Yes, we figured it out.

       11            THE COURT:    Okay.   So sorry to make you come in.       Have

       12   a good afternoon.

       13            You know, my colleagues tell me that sometimes cases

       14   get resolved while the jury is deliberating.           They tell me that

       15   happens all the time.    I said, it never happens with me, but

       16   that's okay.   Doesn't matter to me.

       17            MR. MARCUS:    As long as they don't add any more counts,

       18   right?

       19            THE COURT:     I don't know.        There are a bunch of other

       20   cases coming up, aren't there?      That's all I can say.

       21      (A brief recess was taken at 2:35 p.m. and the following

       22   proceedings were held at 5:37 p.m. outside the presence of the

       23   jury:)

       24            THE COURT:    Defendant is present, defense counsel,

       25   Government counsel.
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        1              We had an inconsequential note.        It really has nothing

        2   to do with it, but I always tell you all.

        3              A little while ago, they said we have seven parking

        4   tickets that need to be validated and five toll reimbursement

        5   sheets that need to be turned in and we took care of it.          I

        6   won't file this, unless someone wants me to, because it has

        7   nothing to do with the case.     My practice is to let you know of

        8   all communications.

        9              I think we should bring in the jury and send them home.

       10   Any problems from the Government?

       11              MR. LARSEN:   No.

       12              THE COURT:    From the defense?

       13              MR. RASHBAUM:   No, Your Honor.

       14              THE COURT:    Bring them in.       Let's just send them home

       15   with the sun out for a change.       I'll give them an option in case

       16   they say, just give me one more hour or something.

       17       (The jury returned to the courtroom at 5:39 p.m.)

       18              THE COURT:    I think we've got everybody.      Thank you

       19   very much.

       20              I was thinking that we would send you home for the

       21   afternoon before the sun sets, if that's what you wanted to do,

       22   unless you thought you wanted to continue working.          We'll do

       23   whatever you want, and then we'll have you come back tomorrow

       24   morning.

       25              Is that all right?    It seems like everybody --
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        1               MS. BEREZIN:    Yes.

        2               THE COURT:     Okay.   Then we'll do what you want.

        3              Now, you know what I'm going to tell you.         I know it's

        4   annoying.    Don't read about the case.          Don't talk about the

        5   case.    That may be the last thing you want to do.         You probably

        6   have been talking about the case for several hours, and you

        7   don't have to forget about the case, but you can if you want to

        8   as long as you can remember tomorrow morning.

        9               This is how we'll do it in the morning.         Rather than

       10   bring you into the courtroom tomorrow morning, you just go to

       11   the jury room and relax.       When the 12th person gets there is

       12   when you can begin your deliberations.

       13              So what we're going to do is this:         Shirley Christie is

       14   going to take in an envelope the Verdict Form, since you all

       15   have your own jury instructions and the Indictment that doesn't

       16   matter, but she'll take the Verdict Form.           We will leave all the

       17   exhibits there.    I don't know if they're out of the boxes or

       18   they're in the boxes.       So should we leave it the way it is you

       19   think?    Is that the best way?

       20              Let's do it that way, because if we organize, you have

       21   to unorganize it again.       So that's fair.      We'll leave it just as

       22   it is.    No one goes in there except the janitor, Victor, but

       23   I'll make sure.     I'll wait and we'll clean the place up without

       24   him bothering all your items.         We will give you back your

       25   phones, and then you come back tomorrow morning at 9:00.
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        1              We'll collect your notebooks, too.          No one reads them.

        2   When the 12th person comes, you'll have the court security

        3   officer.    You'll get to see the early morning shift, the late

        4   afternoon shift, the night shift.            You get to meet a lot of

        5   people in this courtroom, and when all 12 of you are here, we'll

        6   give you the notebooks and the Verdict Form and that's your cue

        7   that then you can begin your deliberations.            Otherwise, you're

        8   excluding the person.      You know, someone comes in early, it will

        9   probably be Mr. Jones, the older Mr. Jones.            Mr. Jones, the

       10   junior, gets here on time, too, but not as early, and you've got

       11   to wait until the last person gets here.            We don't have Mr. Jean

       12   anymore, so you'll all get here on time I know.

       13              All right.   Can you all do it?         If for some reason, you

       14   read something about it, you let me know, stop, and then let me

       15   know.

       16              Okay.   Thank you.   Have a good afternoon.

       17              MS. RODRIGUEZ:    9:00?

       18              THE COURT:   Is 9:00 a good time?         Whatever time you

       19   want.   Is 9:00 okay?

       20              MR. J. JONES:    Yes, 9:00.

       21              THE COURT:   Now, you won't see us.         We'll be doing

       22   other things.      I mean, I'll be doing other things.        Okay?     See

       23   you sometime tomorrow.      Okay?

       24              THE COURT SECURITY OFFICER:           All rise for the jury.

       25      (The jury retired from the courtroom at 5:42 p.m.)
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        1            THE COURT:     All right.    Remember my rule.      You've got

        2   to wait five minutes.    Let the jurors leave, and then what we'll

        3   do tomorrow is come back at a little bit before 12.          I think

        4   that will be probably -- don't you think?           I'm just picking

        5   something.     It's kind of arbitrary.        They may have something,

        6   but it looks like they're going through every single item as

        7   they should.    So there's no problem with that.

        8            All right.     So get here a little bit before 12.        If

        9   they don't have a note or anything, we'll let them stretch their

       10   legs, they get to see you.      I think that's probably good for

       11   both sides and then we'll feed them and we will pick an

       12   arbitrary time some time in the afternoon.           Okay?

       13            MR. RASHBAUM:     Judge, may we know who the foreman is?

       14            THE COURT:     Sure.   Kelly -- what's her name?       I gave my

       15   note to -- hold on.     Let me see.     It's the lady in the front.

       16   Yes, of course, you can.    Kelly Ann Padron in the front, in the

       17   first row.

       18            All right.     So wait a couple more minutes and then go

       19   and we'll see you tomorrow a little bit before of 12:00.          Okay?

       20            MR. RASHBAUM:     Thank you.

       21            MR. MARCUS:    Which one is it?

       22            THE COURT:     The first one is Reshma Vettaparamil and

       23   then comes Mr. Jones.     Then remember we had the empty seat of

       24   Mr. Jean who was always late and then you have Angelica Berezin

       25   and then you have Kelly Ann Padron and then you have and you
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        1   have Mr. Hurtado who has a sports coat.      Then you have Leisy

        2   Meneses.   That's the first row.

        3              Anything else?   Hearing nothing, see you tomorrow a

        4   little bit before 12.

        5              THE COURT SECURITY OFFICER:    All rise.

        6        (The trial adjourned at 5:45 p.m.)

        7

        8                        C E R T I F I C A T E

        9              I hereby certify that the foregoing is an accurate

       10   transcription of proceedings in the above-entitled matter.

       11

       12   ________________
               09-10-18                 ______________________________________
                DATE                    GILDA PASTOR-HERNANDEZ, RPR, FPR
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